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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               PADUCAH DIVISION
                                (Electronically Filed)

VARINA FALKNER-DOSS,                )
              Plaintiff             )
v.                                  )
                                    )
                                    )                Civil Action No.: 5:18-cv-00083-TBR
M.B.T. TRANSPORT, INC.              )
AND                                 )
PAUL WARZOCHA,                      )
                  Defendants        )
____________________________________)



                       AGREED AMENDED SCHEDULING ORDER

       This matter having come before the Court upon the agreement of the parties, as is

evidence by respective counsels’ signatures being affixed hereto below, and the Court noting that

the Agreed Amended Scheduling Order is jointly agreed, and the Court being otherwise

thoroughly and sufficiently advised;

       It is hereby ordered that the following deadlines shall be observed in this action:

       (1)    Not used.

       (2)    No later than October 13, 2019 the parties shall file all motions to amend
pleadings.


       (3)    Identify experts in compliance with Fed.R.Civ.P.26(a)(2):

              By Plaintiff(s):         November 30, 2019
              By Defendant(s):         January 13, 2020

        (4)    No later than September 29, 2019 the parties shall complete all discovery. No
later than February 13, 2020 the parties shall complete expert discovery. Pursuant to 28 U.S.C.
§ 636(B)(1)(a) this matter is referred to Magistrate Judge Lanny King for ruling on all
discovery motion. No discovery motion may be filed without having a joint telephonic
conference with the Judge arranged through his office (270-415-6470).
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       (5)    Telephonic status conferences currently set are REMANDED and will be
reset by the Court.

       (6)      No later than March 14, 2020 counsel for the parties shall file all dispositive
motions and any motions objecting to the admissibility of expert witness testimony under
Fed.R.Evid. 702 and Daubert v. Merrell Dow Pharmaceutical, Inc., 509 U.S. 579 (1993), Kumbo
Tire Co. v. Carmichael, 526 U.S. 137 (1999).
       The party filing the last pleading in response to such motions shall notify the Court by
email to his case manager Kelly_P_Harris@kywd .uscourts.gov, with copies to opposing
counsel, that the motions are ripe for decision.

         (7)    The action scheduled for a telephonic final pretrial conference on
____________ at __:____ Central Time. The conference will be held telephonically, with the
Court placing the call to counsel. Attorneys who will be trying the case shall be available with
full settlement authority.

       (8)     At least 28 days before the pretrial conference counsel shall:

               a) Fully comply with Fed.R.Civ.Proc.26(a)(3)(A) as it applies to witnesses and
                  exhibit list production.
               b) Produce to opposing counsel, all exhibits and charts, marked for
                  identification, which will be used at trial.
               c) Any objection to witnesses or exhibits must be filed within 7 days.
               d) File all motions in limine. Any response to a motion in limine must be filed
                  within 7 days.
               e) File a particular brief containing a succinct statement of the facts of the case,
                  the questions of facts and questions of law with citations.
               f) Submit agreed proposed jury instructions. If the parties cannont agree, counsel
                  shall submit proposed jury instructions. If the parties cannon agree, counsel
                  shall submit proposed instructions with supporting authority.
               g) Submit proposed jury voir dire questions. The Court shall conduct voir dire.
               h) Designate portions of depositions to be used at trial. Opposing counsel shall
                  have 7 days thereafter to make additional designations.

        In the absence of good cause shown, no witness shall be permitted to testify, and no
exhibit or testimony shall be admitted into evidence, except upon compliance with the conditions
of this order.
        Any exhibit or chart so submitted and marked for filing at trial shall be admitted into
evidence if otherwise probative, unless written objections are filed, as set forth in this order.

         (9)    At the commencement of trial, counsel shall furnish to the official court reporter a
list of pre-marked exhibits intended for use at the trial.


               IT IS SO ORDERED, this ____ day of ______________, 2019.




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                                             ____________________________________
                                             HON. JUDGE LANY KING
                                             UNITED STATES MAGISTRATE JUDGE



HAVE SEEN AND AGREEED:

s/Scott A. Wallitsch (with permission)_
Scott A. Wallitsch, Esq.
MORGAN & MORGAN
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Louisville, KY 40202-3048
Counsel for Plaintiff

s/Harlan E. Judd, III_____________
Harlan E. Judd, IIII
Judd, Satterfield & Associates, PLLC
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Bowling Green, Kentucky 42101
Counsel for the Defendants



Copies to:     Counsel of Record
               Magistrate Judge Lanny King
               Case Manager




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